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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                                 )
                                                          )
                Plaintiff,                                )
                                                          )
       v.                                                 )        CR No. 05-1849 JH
                                                          )
CATHY FITZGERALD,                                         )
                                                          )
                Defendant.                                )


                               ORDER CONTINUING SENTENCING

       THIS MATTER having come before the Court on the unopposed motion of the United

States, and the Court being otherwise fully advised in the premises, finds that the motion is well

taken and will be GRANTED.

       IT IS THEREFORE ORDERED that the October 26, 2006, sentencing in this matter is

hereby vacated and rescheduled on ______________________________________________.



                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE

Submitted by:

James R.W. Braun
Assistant U.S. Attorney
